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                                    #:20670


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 17
 18                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 19
 20    APPLIED MEDICAL RESOURCES                Case No. 8:23-cv-00268-WLH-DFM
 21    CORPORATION,
                                                JOINT STATUS REPORT
 22                   Plaintiff,                REGARDING SETTLEMENT
 23
             v.                                 HON. WESLEY L. HSU
 24
 25    MEDTRONIC, INC.,                         DATE: MAY 16, 2025
                                                TIME: 3:00 PM
 26                   Defendant.                CTRM: 9B
 27
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                                          1                       JOINT STATUS REPORT
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  1            In advance of the Final Pretrial Conference set for May 16, 2025, and
  2   following their participation in a mediation, the parties submit this Joint Status
  3   Report as directed by the Court. The parties engaged in a private mediation before
  4   retired Judge Andrew J. Guilford on April 11, 2025 and were not able to reach a
  5   resolution. The parties do not currently have plans to engage in further settlement
  6   discussions.
  7
  8   Dated: April 18, 2025                       Respectfully submitted,

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                                            2                        JOINT STATUS REPORT
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                                   FILER’S ATTESTATION
  3
            Pursuant to L.R. 5-4.3.4(a)(2)(i), the undersigned filer hereby attests that all
  4
      of the other signatories listed, and on whose behalf the filing is submitted, concur in
  5
      this filing’s content and have authorized this filing.
  6
  7
      DATED: April 18, 2025                          By: /s/ Alan B. Freedman
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